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 6   Attorney for Defendant SERGIO HERNANDEZ
 7

 8

 9                                 UNITED STATES DISTRICT COURT
10
                                   EASTERN DISTRICT OF CALIFORNIA
11

12

13
     UNITED STATES OF AMERICA,                     ) No. 1:07-CR-245 LJO
14                                                 )
                      Plaintiff,                   ) STIPULATION AND ORDER TO
15                                                 ) CONTINUE SENTENCING
            vs.                                    )
16                                                 )
     SERGIO HERNANDEZ,                             )
17                                                 )
                      Defendant
18                                                 )
19
            IT IS HEREBY STIPULATED by and between defendant SERGIO HERNANDEZ,
20
     through his attorney, STEPHEN QUADE, plaintiff, United States of America, through its
21

22   counsel of record, Assistant United States Attorney Marlon Cobar hereby stipulate and request

23   the following:
24
            1. The currently scheduled sentencing date of February 6, 2009, at the hour of 9:00
25             a.m., in courtroom 8 before the HONORABLE JUDGE LAWRENCE J. O’NEILL
               shall be vacated and reset for sentencing on March 13, 2009, at the hour of 9:00 a.m.
26          2. The defense has requested the continuance in order to permit a complete review of
               the Presentence Report with the defendant to allow adequate preparation for formal
27
               objections.
28          3. The defense is awaiting letter of character reference to be provided by defendant’s
               family to attach to a Sentencing Memorandum.
            4. The defense is awaiting documents from the Merced County Superior Court to
               support defendant’s contention that his criminal history is overstated.



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          5. The continuance will allow the defendant’s sentencing date to coincide with that of
 3            co-defendant Maximino Flores.
     DATE: January 30, 2009                                  /s/ STEPHEN QUADE
 4                                                   Attorney for Defendant
 5
                                                     SERGIO HERNANDEZ

 6   DATE: January 30, 2009                                     /s/ MARLON COBAR
                                                         Assistant United States Attorney
 7

 8
                                                ORDER

 9            IT IS HEREBY ORDERED that the currently scheduled sentencing be vacated and
10
     reset for March 13, 2009, at the hour of 9:00 a.m., in courtroom 8 for the defendant SERGIO
11
     HERNANDEZ.
12
              IT FURTHER APPEARING that the continuance would permit the defense to conduct
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14   necessary investigation and adequate preparation for the objection to the Presentence Report in

15   this case.
16
     IT IS SO ORDERED.
17
     Dated:        February 2, 2009                 /s/ Lawrence J. O'Neill
18   b9ed48                                     UNITED STATES DISTRICT JUDGE
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